Case 2:03-cr-20350-SH|\/| Document 62 Filed 05/13/05 Page 1 of 2 Page|D 94

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iN THE UNITED sTATEs DISTRICT CoURT
FOR THE WESTERN DISTRICT oF TENNESSEE 05 I=?i'¢-_T i 3 mt l@= 17

 

 

WESTERN DIVISION
UNITED STATES OF AMERICA,
VS. NO. 03-20350-1\/[21
SYLVESTER BUTLER,
Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Bet`ore the court is the defendant’s May ll, 2005 motion to continue the sentencing
hearing Which is presently set for May 12, 2005. For good cause shown, the motion is granted
The sentencing of defendant Sylvester Butler is reset to Wednesday, June 22, 2005 at 1:30
p.m.

it is 50 oRDERED this ll *<day efMay, 2005.

MM~

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

   

UNITD sATEs ISTRIC COURT - WEERN DISITRCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
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Honorable Sarnuel Mays
US DISTRICT COURT

